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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 5:23cr21/TKW

RICHARD CLIFFORD CAREY, JR.
______________________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, RICHARD CLIFFORD CAREY, JR., to Counts One Two, and Three of

the Indictment is hereby ACCEPTED. All parties shall appear before this Court

for sentencing as directed.

       DONE and ORDERED this 21st day of August 2023.

                                T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
